Case:18-02081-MCF13 Doc#:10 Filed:05/03/18 Entered:05/03/18 10:43:54                   Desc: Main
                           Document Page 1 of 3

                           IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF PUERTO RICO


       IN RE:                                            *    CASE NO. 18-02081 (MCF)
       SONIA I ROMAN GARAY                               *
       Debtor(s)                                         *    CHAPTER 13
       --------------------------------------------------


                                       MOTION OBJECTING PLAN


       TO THE HONORABLE COURT:

               COMES NOW, COOPERATIVA DE AHORRO Y CREDITO CAGUAS,

       hereinafter Cooperativa, through its undersigned attorneys and very respectfully to states

       and prays:

               1. On April 18, 2018, Debtor filed a petition for relief under Chapter 13 of the

       Bankruptcy Code.

               2. On April 30th, 2018, Cooperativa, a secured creditor holding a duly registered

       Conditional      Sales     Contract      over     a   2012,   Nissan   Rogue,   serial   number

       JN8AS5MT9CW254182, property of Debtor’s estate, filed a secured claim for the amount

       of $6,453.03, bearing interest at the rate of 10.95% per annum until full and complete

       payment. See: Claims Register, Claim No. 1.

               3. Debtor’s Chapter 13 plan dated April 18, 2018, (Docket Entry no. 3), does not

       provide for pre-confirmation adequate protection monthly payments for Cooperativa’s

       secured claim. Therefore, the plan fails to comply with sections 1325 (a) (5) and 1326

       (a)(1)(C) of the Bankruptcy Code.

               4. Section 1325 (a) (5) states as follows:

                       “…(a) Except as provided in subsection (b), the court shall confirm a plan
Case:18-02081-MCF13 Doc#:10 Filed:05/03/18 Entered:05/03/18 10:43:54                    Desc: Main
                           Document Page 2 of 3
       Motion Objecting Plan
       18-02081 (MCF)

                         if-…
                         (5) with respect to each allowed secured claim provided for by the plan—
                         (A) the holder of such claim has accepted the plan;
                         (B) (i) the plan provides that
                                    (I) the holder of such claim retain the lien securing such claim until
                         the earlier of –
                                        (aa) the payment of the underlying debt determined under
                                   nonbankruptcy law; or
                                       (bb) discharge under section 1328; and;
                                   (II) if the case under this chapter is dismissed or converted without
                                   completion of the plan, such lien shall also be retained by such
                                   holder to the extent recognized by applicable nonbankruptcy law;
                                   and
                              (ii) the value, as of the effective date of the plan, of property to be
                         distributed under the plan on account of such claim is not less than the
                         allowed amount of such claim; and
                            (iii) if-
                                 (I) property to be distributed pursuant to this subsection is in the form
                         of periodic payments, such payments shall be in equal amounts; and
                                (II) the holder of the claim is secured by personal property, the amount
                         of such payments shall not be less than an amount sufficient to provide to
                         the holder of such claim adequate protection during the period of the
                         plan…”.

                 5. In re Butler, 403 B.R. 5, (Bankr. D. Ariz. 2009) indicates that pursuant to

       section 1326 (a)(1)(C), “…debtor must pay adequate protection to a creditor holding an

       allowed secured claim secured by personal property beginning 30 days after the order of

       relief.    Second, the debtor must propose a plan that provides for equal monthly

       payments to that secured creditor. Those proposed plan payments to that secured creditor

       cannot be less than an amount sufficient to provide adequate protection to the creditor

       during the period of the plan…”. The purpose of section 1325 (a)(5)(B)(iii)(II) “…is to

       make sure that creditors whose claims secured by personal property remain adequately

       protected during the period of the plan or until the creditor’s claim is paid in full…” .

                 6. Debtor’s plan does not comply with sections 1325 (a)(5)(B)(iii)(II) and 1326

       (a)(1)(C) since it fails to provide for pre-confirmation adequate protection payments of
                                                         2
Case:18-02081-MCF13 Doc#:10 Filed:05/03/18 Entered:05/03/18 10:43:54            Desc: Main
                           Document Page 3 of 3
       Motion Objecting Plan
       18-02081 (MCF)

       Cooperativa’s secured claim as established in the duly recorded Conditional Sales

       Contract.

                WHEREFORE, Cooperativa respectfully requests this Motion be granted denying

       confirmation of Debtor’s Chapter 13 Plan, and that an Order be entered accordingly.


                RESPECTFULLY SUBMITTED

                CERTIFICATE OF MAILING: I certify that on this same date I have notified a
       true copy of the foregoing motion to CM/ECF participants: Roberto Figueroa
       Carrasquillo, Esq.; Alejandro Oliveras Rivera, Chapter 13 Trustee; and to non CM/ECF
       participants, through First Class, U.S. Mail, Debtor at HC 03 Box 37916, Canovanas, PR
       00725.

                In San Juan, Puerto Rico, this 4th day of May, 2018.


                                           /s/    CARLOS A. QUILICHINI PAZ
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